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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


NAPLETON’S ARLINGTON HEIGHTS
MOTORS, INC. f/k/a NAPLETON’S
PALATINE MOTORS, INC. d/b/a
NAPLETON’S ARLINGTON HEIGHTS
CHRYSLER DODGE JEEP RAM, an
Illinois corporation; NAPLETON’S RIVER
OAKS MOTORS, INC. d/b/a NAPLETON’S
RIVER OAKS CHRYSLER DODGE JEEP
RAM, an Illinois corporation; CLERMONT
MOTORS, LLC d/b/a NAPLETON’S
CLERMONT CHRYSLER DODGE JEEP
RAM, an Illinois limited liability company;
NAPLETON’S NORTH PALM AUTO
PARK, INC. d/b/a NAPLETON’S
NORTHLAKE CHRYSLER DODGE JEEP
RAM, an Illinois corporation; NAPLETON        Case No. 1:16-cv-00403-VMK-SMF
ENTERPRISES, LLC d/b/a NAPLETON’S
SOUTH ORLANDO CHRYSLER DODGE
JEEP RAM, an Illinois limited liability
company; NAPLETON’S MID RIVERS
MOTORS, INC. d/b/a NAPLETON’S MID
RIVERS CHRYSLER DODGE JEEP RAM,
an Illinois corporation; NAPLETON’S
ELLWOOD MOTORS, INC. d/b/a
NAPLETON’S ELLWOOD CHRYSLER
DODGE JEEP RAM, an Illinois corporation,

              Plaintiffs,

       v.

FCA US LLC, a Delaware corporation

              Defendant.



  FCA’S MOTION FOR LEAVE TO FILE THE DECLARATION OF MICHAEL J.
                      HORRELL UNDER SEAL
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       Pursuant to Civil Local Rules 5.8 and 26.2, Defendant, FCA US LLC (“FCA”), moves

this Honorable Court for leave to file under seal the Declaration of Michael J. Horrell in Support

of FCA’s Opposition to Plaintiffs’ Motion to Set Deadlines for Production of Documents and to

Compel Production of Documents Relating to Sales Reporting to the Public (“Horrell

Declaration”).

                                           ARGUMENT

       A document may be filed under seal for “good cause.” Local Rule 26.2; see Citizens

First Nat. Bank of Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 945 (7th Cir. 1999) (public

interest in judicial proceedings can be overridden if privacy interests “predominate in the

particular case, that is, only if there is good cause for sealing a part or the whole of the record in

that case”). To show “good cause,” a party seeking a sealing order must “analyze in detail,

document by document, the propriety of secrecy, providing reasons and legal citations.” See

Strait v. Belcan Eng’g Grp., Inc., 2012 WL 2277903, at *1 (N.D. Ill. June 18, 2012) (quoting

Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 548 (7th Cir. 2002)). Documents containing

information containing a “properly demarcated category of legitimately confidential

information . . . are entitled to be kept secret and out of the public record.” Solaia Tech. LLC v.

Arvinmeritor, Inc., 2004 WL 549449, at *1 (N.D. Ill. Jan. 28, 2004) (citations omitted) (internal

quotations omitted).

       In support of its Opposition to Plaintiff’s Motion to Set Deadlines for Production of

Documents and to Compel Production of Documents Relating to Sales Reporting to the Public,

FCA has provisionally filed the Horrell Declaration under seal, and at the same time, filed a

redacted public version of the declaration. See Local Rule 26.2(c). The redacted portion of the

Horrell Declaration contains information regarding ongoing government investigations, which

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this Court has recognized are non-public. See Dkt. No. 114 at 12 (“Government investigations

are not public and remain that way until and unless claims or charges are filed or the

investigations are closed.”); see also John Doe Co. No. 1 v. Consumer Fin. Prot. Bureau, 195 F.

Supp. 3d 9, 13 (D.D.C. 2016). Therefore, FCA respectfully requests that the Court grant this

motion and enter an order giving leave to FCA to file under seal the Declaration of Michael J.

Horrell in Support of FCA’s Opposition to Plaintiff’s Motion to Set Deadlines for Production of

Documents and Compel Production of Documents Relating to Sales Reporting to the Public.



Dated: May 23, 2017                          Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be served upon

counsel for Plaintiffs electronically via the CM/ECF system on May 23, 2017.



                                           /s/ Felicia H. Ellsworth
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